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                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS
                               WESTERN DIVISION

In re:
      Richard Earl Houghton                               Chapter 7
      Janet E. Houghton
                                 Debtors                  Case No. 19-30568-EDK


       TRUSTEE’S MOTION TO EMPLOY BK GLOBAL REAL ESTATE SERVICES
           AND TEAMWORK REALTY GROUP AS REAL ESTATE BROKERS
To the Honorable Elizabeth D. Katz, U.S. Bankruptcy Judge:

Now comes David W. Ostrander, Chapter 7 Trustee in the above captioned case
(“Trustee”), by his counsel, and requests that the Court authorize him to employ BK
Global Real Estate Services (“BKRES”) and Teamwork Realty Group (“Teamwork”) as
real estate brokers, on a commission fee basis, in order to market the residential real
estate owned by the Debtors located at 534 Pendleton Avenue, Chicopee, Hampden
County, Massachusetts (the “Property”), in expectation of working with the Secured
Creditor to gain consent for a “short sale” a/k/a “Consented Sale”. In support of this
motion, the Trustee respectfully represents as follows:
1.     The Debtors filed a Voluntary Chapter 7 Petition on July 16, 2019 (the "Petition
       Date").

2.     The first Meeting Of Creditors was conducted on September 10, 2019.

3.     On Schedule A/B – Property, the Debtors disclosed that they owned the Property
       as Tenants By The Entirety with a value of $195,100.

4.     On Schedule D – Creditors Who Have Claims Secured By Property, the Debtors
       listed Freedom Mortgage (“Freedom”) as mortgagee for the Property, and that
       approximately $197,417 was owed to Freedom. Also on Schedule D, the Debtors
       listed the City of Chicopee-Water Dept. as having a lien on the Property and that
       approximately $646 was owed.        The Debtors also listed a lien held by Solar
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       Mosaic, Inc., in the amount of $23,850 for “[l]oan for solar panels and related
       equipment.”1.

5.     At the bottom of Schedule I: Your Income, the Debtors stated the following: “The
       Debtor and his family (inclusive of the entire household) are moving to Florida on
       August 1, 2019.”

6.     The Debtors did not claim an exemption in the Property.

7.     At the Meeting Of Creditors conducted on September 10, 2019, the Debtors
       confirmed that they had moved to Florida and that the Property was now vacant.

8.     On August 6, 2019, Freedom filed a motion for relief from stay for the Property
       stating that the amount owed on the mortgage as of July 19, 2019, was
       approximately $200,974. On August 19, 2019, the Trustee filed an objection to the
       motion. A Nonevidentiary Hearing has been scheduled for September 18, 2019,
       on the motion.

9.     The Trustee is investigating a possible “short sale” of the Property.

10.    BKRES and its affiliates have proprietary technology and a national team of
       experienced loan servicing specialists, asset managers, negotiators, trustee
       relation managers, real estate brokers and agents, closing specialists and
       attorneys with extensive experience in procuring the consent of mortgage lenders
       and servicers to sell over-encumbered properties and provide significant cash
       recoveries through its Consented Sale™ process.

11.    Teamwork is a real estate agency with an office in Longmeadow, Massachusetts.

12.    As compensation for their services BKRES and Teamwork would receive a
       commission in the amount of six percent (6%) of the gross sale price upon
       consummation of the sale of the Property, to be divided evenly between them. If a


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  The Trustee's review of the real estate records at the Hampden Registry Of Deeds did not list
any document recorded associated with this purported lien to Solar Mosaic, Inc., although a
U.C.C.-1 appears to have been recorded by or behalf of Solar Mosaic, Inc., at the office of the
Secretary of the Commonwealth Of Massachusetts on April 20, 2016, listing richard Houghton
as the “Debtor.” The Trustee contends that the perfection of its purported security interest
required the recording of the U.C.C.-1 at the Hampden Registry Of Deeds and therefore the
creditor holds an unsecured, rather than secured, claim.


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        “buyer’s agent” was involved in the anticipated sale transaction, the 6%
        commission would be split evenly with BKRES, Teamwork, and the buyer’s agent,
        each receiving 2%.

13.     The “short sale” anticipates a sale price that would be less than the amount due to
        Freedom on its mortgage debt.           As a result, the Trustee anticipates that a
        sufficient “carve out” from the mortgage debt would be paid to the Bankruptcy
        Estate to pay administrative expenses and a meaningful dividend to unsecured
        creditors 2.

14.     Both BKRES and Teamwork have been provided a copy of Rule 2014-1 of the
        Local Bankruptcy Rules of the United States Bankruptcy Court for the District Of
        Massachusetts (“MLBR”) and are aware that the Court may allow compensation
        different from the compensation described herein, notwithstanding the allowance
        of this motion by the Court.

WHEREFORE, the Trustee requests that he be allowed to employ BKRES and
Teamwork to market the Property pursuant to the terms and conditions set forth herein,
and granting such other relief that is just and proper.


                                         David W. Ostrander, Trustee
Dated: September 10, 2019
                                     By: /s/ David W. Ostrander
                                        David W. Ostrander, Esq., BBO#554004
                                        Ostrander Law Office
                                        36 Service Center Road, P.O. Box 1237
                                        Northampton, MA 01061-1237
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                                        E: david@ostranderlaw.com




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    The deadline for timely filed claims is November 19, 2019.


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                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS
                              WESTERN DIVISION

In re:
      Richard Earl Houghton                              Chapter 7
      Janet E. Houghton
                                Debtors                  Case No. 19-30568-EDK


    ORDER ON TRUSTEE’S MOTION TO EMPLOY BK GLOBAL REAL ESTATE
     SERVICES AND RIGHT KEY REALTY, INC. AS REAL ESTATE BROKERS

Upon consideration of the Chapter 7 Trustee's Motion To Employ BK Global Real Estate
Services and Teamwork Realty Group As Real Estate Brokers, no adverse interests
having been represented and sufficient reason appearing to me therefor, it is hereby

ORDERED that the Trustee's Motion To Employ BK Global Real Estate Services and
Teamwork Realty Group As Brokers is allowed. All compensation and expenses will be
subject to Court approval.




                                  _____________________________________
                                  Honorable Elizabeth D. Katz  Dated
                                  U.S. Bankruptcy Judge
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                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS
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      Richard Earl Houghton                              Chapter 7
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                                 Debtors                 Case No. 19-30568-EDK


                              CERTIFICATE OF SERVICE

I, David W. Ostrander, do hereby certify that I served a copy of the Trustee's Motion To
Employ BK Global Real Estate Services and Teamwork Realty Group As Real Estate
Brokers on the following by mailing, first class, postage prepaid, except as otherwise
indicated, on September 10, 2019:
Office of the U.S. Trustee                   Cynthia Ravosa, Esq.
(via ECF)                                    Counsel to Debtors
                                             (via ECF)

Andrew Canella, Esq.                         Richard & Janet Houghton
Bendett & McHugh, P.C.                       534 Pendleton Avenue
Counsel To Freedom Mortgage                  Chicopee, MA 01020
(via ECF)

Solar Mosaic, Inc.                           City of Chicopee-Water Dept.
300 Lakeside Drive, Fl 24                    115 Baskin Drive
Oakland, CA 94612                            Chicopee, MA 01020

Patrick Butler                               Art Richton
BK Global Real Estate Services               Teamwork Realty Group
(via email only)                             (via email only)

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